Case 1:19-md-02895-LPS Document 92 Filed 12/17/19 Page 1 of 5 PageID #: 1555



                             UNITED STATES DISTRICT COURT

                                   DISTRICT OF DELAWARE

                                              )
 IN RE: SENSIPAR (CINACALCET
                                              )
 HYDROCHLORIDE TABLETS) ANTITRUST
                                              )
 LIGITATION
                                              )
                                              )
                                                  MDL No. 19-2895-LPS
                                              )
 THIS DOCUMENT RELATES TO:                    )
                                              )
 ALL DIRECT PURCHASER ACTIONS                 )
 ALL END PAYER ACTIONS                        )
                                              )

                                   NOTICE OF SERVICE

         Please take notice that on December 16, 2019, a copy of Teva Pharmaceuticals USA

Inc.’s Disclosures under Paragraph 3 of the District of Delaware Default Standard for Discovery

was served on the following as indicated:

Robert J. Kriner, Jr., Esquire                                       VIA ELECTRONIC MAIL
Scott M. Tucker, Esquire
Tiffany J. Cramer, Esquire
Vera Gerrit Belger, Esquire
CHIMICLES SCHWARTZ KRINER &
DONALDSON-SMITH LLP
2711 Centerville Road, Suite 201
Wilmington, DE 19808
rjk@chimicles.com
smt@chimicles.com
tjc@chimicles.com
vgb@chimicles.com
Attorneys for Plaintiff

Benjamin F. Johns, Esquire                                           VIA ELECTRONIC MAIL
CHIMICLES SCHWARTZ KRINER &
DONALDSON-SMITH LLP
361 West Lancaster Avenue
Haverford, PA 19041
bfj@chimicles.com
Attorney for Plaintiff




                                              1
Case 1:19-md-02895-LPS Document 92 Filed 12/17/19 Page 2 of 5 PageID #: 1556



Linda P. Nussbaum, Esquire                               VIA ELECTRONIC MAIL
Bart D. Cohen, Esquire
NUSSBAUM LAW GROUP, P.C.
1211 Avenue of the Americas, 40th Floor
New York, NY 10036
lnussbaum@nussbaumpc.com
bcohen@nussbaumpc.com
Attorneys for Plaintiff

Thomas M. Sobol, Esquire                                 VIA ELECTRONIC MAIL
Bradley J. Vettraino, Esquire
HAGENS BERMAN SOBOL SHAPIRO LLP
55 Cambridge Parkway, Suite 301
Cambridge, MA 02142
tom@hbsslaw.com
bradleyv@hbsslaw.com
Attorneys for Plaintiff

Sharon K. Robertson, Esquire                             VIA ELECTRONIC MAIL
Donna M. Evans, Esquire
COHEN MILSTEIN SELLERS & TOLL PLLC
88 Pine Street, 14th Floor
New York, NY 10005
srobertson@cohenmilstein.com
devans@cohenmilstein.com
Attorneys for Plaintiff

John Radice, Esquire                                     VIA ELECTRONIC MAIL
Daniel Rubenstein, Esquire
Kenneth Pickle, Esquire
RADICE LAW FIRM, P.C.
475 Wall Street
Princeton, NJ 08540
jradice@radicelawfirm.com
drubenstein@radicelawfirm.com
kpickle@radicelawfirm.com
Attorneys for Plaintiff

Shawn Raymond, Esquire                                   VIA ELECTRONIC MAIL
SUSMAN GODFREY LLP
1000 Louisiana, Suite 5100
Houston, TX 77002
sraymond@susmangodfrey.com
Attorney for Plaintiff




                                          2
Case 1:19-md-02895-LPS Document 92 Filed 12/17/19 Page 3 of 5 PageID #: 1557



Kalpana Srinivasan, Esquire                              VIA ELECTRONIC MAIL
SUSMAN GODFREY LLP
1900 Avenue of the Stars, Suite 1400
Los Angeles, CA 90067
ksrinivasan@susmangodfrey.com
Attorney for Plaintiff

Michael M. Buchman, Esquire                              VIA ELECTRONIC MAIL
Michelle C. Clerkin, Esquire
MOTLEY RICE LLC
777 Third Avenue, 27th Floor
New York, NY 10017
mbuchman@motleyrice.com
mclerkin@motleyrice.com
Attorneys for Plaintiff

Jayne A. Goldstein, Esquire                              VIA ELECTRONIC MAIL
SHEPHERD FINKELMAN MILLER & SHAH LLP
1 625 North Commerce Parkway, Suite 320
Ft. Lauderdale, FL 33326
jgoldstein@sfmslaw.com
Attorney for Plaintiff

Ned Weinberger, Esquire                                  VIA ELECTRONIC MAIL
LABATON SUCHAROW LLP
300 Delaware Avenue, Suite 1340
Wilmington, DE 19801
nweinberger@labaton.com
Attorney for Plaintiff

Gregory S. Asciolla, Esquire                             VIA ELECTRONIC MAIL
Jay L. Himes, Esquire
Karin E. Garvey, Esquire
Robin A. van der Meulen, Esquire
Matthew J. Perez, Esquire
Domenico Minerva, Esquire
LABATON SUCHAROW LLP
140 Broadway
New York, NY 10005
gasciolla@labaton.com
jhimes@labaton.com
kgarvey@labaton.com
rvandermeulen@labaton.com
mperez@labaton.com
dminerva@labaton.com
Attorneys for Plaintiff


                                          3
Case 1:19-md-02895-LPS Document 92 Filed 12/17/19 Page 4 of 5 PageID #: 1558



Scott A. Martin, Esquire                                 VIA ELECTRONIC MAIL
Irving Scher, Esquire
HAUSFELD LLP
33 Whitehall Street, 14th Floor
New York, NY 10004
smartin@hausfeld.com
ischer@hausfeld.com
Attorneys for Plaintiff

Brent Landau, Esquire                                    VIA ELECTRONIC MAIL
HAUSFELD LLP
325 Chestnut Street, Suite 900
Philadelphia, PA 19106
blandau@hausfeldllp.com
Attorney for Plaintiff

Melinda R. Coolidge, Esquire                             VIA ELECTRONIC MAIL
HAUSFELD LLP
1700 K Street, NW, Suite 650
Washington, DC 20006
mcoolidge@hausfeld.com
Attorney for Plaintiff

Roberta D. Liebenberg, Esquire                           VIA ELECTRONIC MAIL
Jeffrey S. Istvan, Esquire
Paul Costa, Esquire
Adam J. Pessin, Esquire
FINE, KAPLAN AND BLACK, R.P.C.
One South Broad Street, 23rd Floor
Philadelphia, PA 19107
rliebenberg@finekaplan.com
jistvan@finekaplan.com
pcosta@finekaplan.com
apessin@finekaplan.com
Attorneys for Plaintiff

Dianne M. Nast, Esquire                                  VIA ELECTRONIC MAIL
Michael Tarringer, Esquire
NASTLAW LLC.
1101 Market Street, Suite 2801
Philadelphia, PA 19107
dnast@nastlaw.com
mtarringer@nastlaw.com
Attorneys for Plaintiff




                                     4
Case 1:19-md-02895-LPS Document 92 Filed 12/17/19 Page 5 of 5 PageID #: 1559



Ashley E. Johnson                                           VIA ELECTRONIC MAIL
GIBSON, DUNN & CRUTCHER LLP
2100 McKinney Avenue, Suite 1100
Dallas, TX 75201-6912
ajohnson@gibsondunn.com
Attorney for Defendant Amgen

Eric J. Stock                                               VIA ELECTRONIC MAIL
GIBSON, DUNN & CRUTCHER LLP
200 Park Avenue
New York, NY 10166-0193
estock@gibsondunn.com
Attorney for Defendant Amgen

Brian P. Egan                                               VIA ELECTRONIC MAIL
Jack B. Blumenfeld
MORRIS, NICHOLS, ARSHT & TUNNELL LLP
1201 North Market Street
P.O. Box 1347
Wilmington, DE 19899
began@mnat.com
jblumenfeld@mnat.com
Attorneys for Defendant Amgen



                                           /s/ Karen E. Keller
                                           John W. Shaw (No. 3362)
                                           Karen E. Keller (No. 4489)
                                           Nathan R. Hoeschen (No. 6232)
 OF COUNSEL:                               SHAW KELLER LLP
 Henninger S. Bullock                      I.M. Pei Building
 Richard A. Spehr                          1105 North Market Street, 12th Floor
 Karen W. Lin                              Wilmington, DE 19801
 MAYER BROWN                               (302) 298-0700
 1221 Avenue of the Americas               jshaw@shawkeller.com
 New York, NY 10020                        kkeller@shawkeller.com
 (212) 506-2500                            nhoeschen@shawkeller.com
                                           Attorneys for Defendant Teva
                                           Pharmaceuticals USA, Inc.
 Dated: December 17, 2019




                                       5
